
USCA1 Opinion

	










          February 8, 1996
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                     ____________

          No. 95-1140

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                 LAWRENCE M. LANOUE,

                                      Defendant.

                                     ____________


                                     ERRATA SHEET


               The  opinion of this court  issued on December  15, 1995, is

          amended as follows:

               Cover Sheet:  Change "Defendant." to "Defendant, Appellant."










































        January 11, 1996    UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS

                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________



        No. 95-1140



                                    UNITED STATES,



                                      Appellee.



                                          v.



                                 LAWRENCE M. LANOUE,



                                Defendant, Appellant.





                                 ____________________



                                     ERRATA SHEET



            The  opinion  of  this  Court  issued  on  December  15,  1995, is

        corrected as follows:



            On page 13, line 21 -  delete "0" at the beginning of the line.



















            On page 46, line 3 - insert the word "doubt" between  "reasonable"

        and "that".

































































                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS

                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________



        No. 95-1140



                                    UNITED STATES,



                                      Appellee.



                                          v.



                                 LAWRENCE M. LANOUE,



                                Defendant, Appellant.





                                 ____________________



                     APPEAL FROM THE UNITED STATES DISTRICT COURT



                           FOR THE DISTRICT OF RHODE ISLAND





                     [Hon. Ernest C. Torres, U.S. District Judge]
                                             ___________________



















                                 ____________________



                                        Before



                                Torruella, Chief Judge,
                                           ___________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Stahl, Circuit Judge.
                                         _____________



                                 ____________________



            David L. Martin, for appellant.
            _______________

            Margaret E.  Curran, Assistant United  States Attorney, with  whom
            ___________________

        Sheldon  Whitehouse,  United States  Attorney,  and  James H.  Leavey,
        ___________________                                  ________________

        Assistant United States Attorney, were on brief for appellee. 





                                 ____________________



                                  December 15, 1995

                                 ____________________



























                      BOWNES, Senior Circuit Judge.  Appellant   Lawrence
                      BOWNES, Senior Circuit Judge.
                              ____________________

            M. Lanoue  (Lanoue) appeals his convictions  and sentence for

            interstate  transportation  of  a  stolen  motor  vehicle, 18

            U.S.C.     2312 (Count  V),  interstate  transportation of  a

            firearm with an obliterated serial number, 18 U.S.C.   922(k)

            (Count  VI), and  conspiracy to  commit federal  offenses, 18

            U.S.C.   371 (Count I).  Lanoue contends that he is  entitled

            to  a new trial on all counts  because the trial court abused

            its  discretion by  refusing to  declare a mistrial  when the

            government  cross examined  a  critical defense  witness with

            Lanoue's own statements  which were intercepted  in violation

            of  Title III of the  Omnibus Crime Control  and Safe Streets

            Act, 18 U.S.C.     2510-2521 (Title  III), and then  withheld

            from  him  in violation  of  Fed.  R. Crim.  P.  16(a)(1)(A).

            Lanoue also contends that  there was insufficient evidence to

            convict  him of  Counts I  and VI,  and that the  trial court

            improperly enhanced  his sentence  based on conduct  of which

            the jury had acquitted him.

                      We vacate Counts I  and V and remand them for a new

            trial, affirm Count VI, and  order a sentence on Count VI  of

            60 months imprisonment.

            I.        BACKGROUND
            I.        BACKGROUND

                      A.   Relevant Facts  
                      A.   Relevant Facts  

                           1.   The Government's Case





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                      The government's theory  at trial  was that  Lanoue

            and  his  co-defendant  Albert   Cole  (Cole)  stole  a  1986

            Oldsmobile  Firenza, and  that  they and  their  co-defendant

            Patrick Meade (Meade) used the car in an attempted robbery of

            an  armored car  courier.   The  government's case  consisted

            primarily of  the testimony of fourteen  of the approximately

            fifty  FBI agents and Rhode  Island State police officers who

            conducted a massive land and  air surveillance of Lanoue  and

            the Oldsmobile and assisted in his arrest.  

                      On December  17, 1993, eight FBI  agents attached a

            tracking device to  a 1986 Oldsmobile Firenza located  in the

            lot   of  American   International   Leasing  in   Worcester,

            Massachusetts.  On December 19, 1993, Lanoue and Cole brought

            the  Oldsmobile  to a  farm in  Pascaog,  Rhode Island.   The

            farm's owner, Kenneth Gareau (Gareau), was a friend of Cole's

            who  repaired  cars.   He testified  that  Cole asked  him to

            repair  the front end, that  he said he could get  to it in a

            week or so, that it "looked like" Cole took the license plate

            off the Oldsmobile and put it in the trunk, and that Cole and

            Lanoue then departed.  

                      American   International   Leasing   reported   the

            Oldsmobile stolen  on December  21, 1993.   Agents conducting

            surveillance from an airplane observed Lanoue and Cole return

            to the  farm on the morning  of December 23,  1993, and drive





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            the   Oldsmobile   to   the   Ames   Plaza   in   Bellingham,

            Massachusetts, where they met Meade.

                      While the  defendants were parked  between a  pizza

            parlor and a liquor store in a lot adjacent to  the Ames lot,

            an unmarked armored car, that appeared to be an ordinary Ford

            Aerostar van, parked  in front  of the main  entrance to  the

            Ames store.  A  uniformed courier exited the van  and entered

            the Ames store.  Several minutes later, Lanoue and Cole drove

            from the adjacent lot to the Ames lot and parked.  Lanoue was

            arrested as he walked  towards the main entrance of  the Ames

            store.   He had  a loaded  38 caliber  Colt revolver  with an

            obliterated  serial number  in  his waistband.    One of  the

            arresting  officers testified  that Lanoue  immediately said:

            "I am  Mitch.1  You got  me.  I am  gone for life.   I have a

            piece."   Another testified that  when he asked  Lanoue where

            the other vehicles  were, he stated:   "You know  everything.

            That's why you're  here.  I  am here  alone."  Another  agent

            testified that after Lanoue  was taken into custody he  said,

            "I wonder  who the rat was  on this job."   And another agent

            testified that Lanoue  said that  he would die  in prison  no

            matter how long his sentence was because he was 72 years old.

                      Cole was  arrested in the Oldsmobile,  which bore a

            stolen  license plate.  The ignition was not "popped" and the

            keys were in  it.  Meade was  arrested in his own  car on the

                                
            ____________________

            1.  Lanoue was known as Mitch.

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            other  side of  the  lot with  a loaded  Smith and  Wesson 36

            caliber revolver in his pocket.

















































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                           2.   The Defendant's Case

                      Although  the  law  enforcement  witnesses  did not

            offer to explain how they came to attach a tracking device to

            the  Oldsmobile  and   follow  its  and   Lanoue's  movements

            thereafter, cross  examination revealed that an informant had

            provided FBI Agent Brosnan,  the case agent, with information

            that Lanoue and others planned to steal the car and use it in

            an armored car robbery.  

                      The  defense  theory  was  that  the informant  was

            Richard Laraviere  (Laraviere), and that  the information  he

            provided and  upon which  the  investigation and  prosecution

            rested, was false.   According to the  defense, Lanoue bought

            the Oldsmobile from Laraviere,  who then falsely informed the

            FBI that Lanoue was planning  to steal the car and use  it in

            an armored car robbery in order to obtain favorable treatment

            on  theft charges pending against  him in Massachusetts.  The

            defense suggested  that the  government was eager  to believe

            Laraviere and assemble a small  army to arrest Lanoue because

            Lanoue had been found not guilty in a case tried  by the same

            prosecutor  in  1991.     The  defense  emphasized  that  the

            government had  not called Laraviere to  testify, although he

            was the only  witness who could  corroborate its theory  that

            Lanoue stole the Oldsmobile.  

                      Lanoue testified and called Charles Carron (Carron)

            as a witness  to corroborate  his own testimony.   They  both



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                                          6















            testified in effect as follows.  On December 17, 1993, Lanoue

            was  helping  Carron  remove   debris  from  his  house  when

            Laraviere  arrived.   Laraviere was  a millionaire  who owned

            real estate and  had once owned  a used car  dealership.   He

            previously  had offered  to sell  Lanoue a  car which  Lanoue

            declined  to buy.  On this occasion, Lanoue mentioned that he

            wanted  to buy a car  for his daughter.   Laraviere responded

            that one of his  tenants had abandoned an Oldsmobile  that he

            wanted  to  sell and  said that  it  was located  at American

            International Leasing in Worcester, which he implied he owned

            or   partially  owned.      The  three   drove  to   American

            International Leasing,  Laraviere obtained  the keys from  an

            employee  there,  and they  took  the Oldsmobile  for  a test

            drive.  

                      Carron testified that upon their return to the lot,

            he observed Lanoue and Laraviere having a discussion and then

            saw  Lanoue remove  money  from his  wallet  and hand  it  to

            Laraviere.   Lanoue testified that he and Laraviere agreed on

            a price of  $500, that  he gave Laraviere  a down payment  of

            $200,  and that they agreed that Lanoue would pay the balance

            and take the car on Sunday, December 19.  

                      Lanoue testified  that on December 19,  he and Cole

            drove  to American International  Leasing in  Lanoue's truck,

            that he paid Laraviere the $300 balance and then drove off in

            the  Oldsmobile with  Cole following  in the  truck.   Lanoue



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                                          7















            testified  that  as he  drove  the Oldsmobile  back  to Rhode

            Island,  he noticed that  there was something  wrong with the

            front  end.   He and  Cole therefore  took the  Oldsmobile to

            Gareau  to  be repaired.   On  December  23, Lanoue  and Cole

            picked  up the car  on the way  to the Ames  Plaza where they

            planned to go Christmas shopping.  Lanoue soon found out that

            Gareau  had not  worked on  the  car and  took it  to another

            garage, but the person he wanted to look at it was not there.

            He and Cole then proceeded  to the Ames Plaza where they  met

            Meade.   As  Lanoue walked  towards the  Ames store  where he

            planned  to buy  a  watch, he  was  arrested.   After  Lanoue

            rested, Cole testified in his own behalf, confirming Lanoue's

            account of events on December 19 and 23.  

                      Lanoue  testified   that  he  carried  a   gun  for

            protection,  explaining  that his  life  had  been threatened

            before  and that the police  had laughed when  he reported it

            because he had a criminal  record.  Lanoue acknowledged  that

            he had cleaned the  revolver, denied that he had  obliterated

            its  serial number,  but did  not deny  that he  knew  it was

            obliterated.   Lanoue admitted to stating, "I have a piece on

            me," and  that when an  agent asked him  who was with  him he

            responded that he was  alone, meaning that he was  alone when

            he  was arrested.    He denied  making  the other  statements

            government witnesses attributed to him.





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                      Lanoue  and Carron  also gave  testimony indicating

            that  Laraviere provided  false information  in this  case in

            order  to  gain  favorable  treatment  on  pending   criminal

            charges.   Carron  testified that  Laraviere had  once stored

            boating equipment in  his garage.  When  Carron later learned

            that it was stolen, he reported it to the police, who removed

            the property and told him that Laraviere had a reputation for

            claiming that  property  he had  stolen  had been  stolen  by

            someone else.  

                      Lanoue   testified  that  Laraviere  had  told  him

            shortly  before his own arrest  that he had  been indicted on

            fifty-seven  counts of  theft in  Massachusetts, and  that he

            would soon  have to  begin  serving a  two-year sentence  for

            those  charges  pursuant  to  a  plea,  unless  he  could  do

            something to avoid it.  To that end, Laraviere offered to pay

            Lanoue to frame the witness against him in that case.  Lanoue

            testified  that he believed  Laraviere had  not gone  to jail

            because  he  falsely  informed  the  government  that  Lanoue

            planned to steal the Oldsmobile and rob an armored car.

                      Carron testified  that he  had visited  Lanoue once

            after  his arrest  while  Lanoue was  awaiting  trial at  the

            Donald  W. Wyatt  Detention  Center in  Central Falls,  Rhode

            Island.   Shortly  thereafter,  two FBI  agents  and a  state

            police  detective visited  him,  refused to  leave his  home,

            subpoenaed him  to testify at Lanoue's  trial, and threatened



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            that if he did not testify against Lanoue, they  would see to

            it  that his  pension check  and his  girlfriend's disability

            check or her job at the post office were taken away.















































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                                          10















                      B.   Proceedings Below
                      B.   Proceedings Below

                      Lanoue, Cole and Meade  were charged in a six-count

            redacted  indictment.2   All three  were charged  in Count  I

            with conspiracy to commit federal offenses, 18 U.S.C.    371;

            in Count  II with  conspiracy to  interfere with  commerce by

            robbery,  Hobbs  Act, 18  U.S.C.    1951;  in Count  III with

            attempt to interfere  with commerce by robbery, Hobbs Act, 18

            U.S.C.    1951; and  in Count  IV with  using and carrying  a

            firearm during and in relation to an attempt or conspiracy to

            commit  robbery,  18 U.S.C.     924(c)(1).   Count  V charged

            Lanoue and  Cole with  interstate transportation of  a stolen

            motor  vehicle, 18 U.S.C.   2312, and Count VI charged Lanoue

            alone  with interstate  transportation of  a firearm  with an

            obliterated serial number,  18 U.S.C.   922(k).   Counts III,

            IV  and  V  also  charged  the  defendants  with  aiding  and

            abetting.  18 U.S.C.   2.

                      The trial began on October  24, 1994.  On  November

            4,  1994, the jury  convicted Lanoue of  Counts I, V  and VI,

            acquitted him of all  robbery-related charges, and  acquitted

            his  co-defendants of  all charges.    On November  10, 1994,

            Lanoue  moved for judgment of  acquittal on Counts  I and VI,




                                
            ____________________

            2.  The  grand  jury  returned  the  original  indictment  on
            January 5, 1994.   A redacted  indictment was filed  when one
            count  was dismissed by the government with leave of court on
            August 17, 1994. 

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            which was denied on December 19, 1994.  On  January 13, 1995,

            the court sentenced Lanoue to 175 months in prison.  

            II.       DISCUSSION
            II.       DISCUSSION

                      A.   The Discovery Violation
                      A.   The Discovery Violation

                      Lanoue  contends  that  his  convictions  should be

            reversed because  the prosecutor  cross examined  Carron with

            Lanoue's  own  recorded   statements  which  the   government

            concedes  it failed to disclose in violation of Fed. R. Crim.

            P.  16(a)(1)(A)  and the  pre-trial  discovery  order.   Rule

            16(a)(1)(A) provides in relevant part:

                      Upon   request   of   a   defendant   the
                      government must disclose to the defendant
                      and   make   available  for   inspection,
                      copying, or photographing:   any relevant
                      .  . .  recorded statements  made by  the
                      defendant, or copies thereof,  within the
                      possession,  custody,  or control  of the
                      government,  the  existence  of which  is
                      known,   or  by   the  exercise   of  due
                      diligence  may  become   known,  to   the
                      attorney for the government . . . .

            The  trial  court's  pretrial  discovery  order  required the

            government to  disclose "[a]ny  statements  of the  defendant

            subject  to  disclosure  pursuant to  Rule  16(a)(1)(A)," and

            "[w]hether the  government counsel's file indicates  that any

            wire or  oral communications have been  intercepted."  Lanoue

            contends that he was incurably prejudiced by the government's

            use  of his  statements and  that the  trial court  therefore

            erred in refusing to declare a mistrial.





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                           1.   Cross Examination of Carron with Lanoue's
                                Recorded Statements

                      Carron's  cross  examination  proceeded   in  three

            parts.   On Thursday,  October 27, the  prosecutor opened the

            first part by accusing Carron of threatening Laraviere:

                      Sir,  didn't the FBI  tell you the reason
                      they  were at  your premises  was because
                      you threatened an informant in this case?

                      Did   you   ever  threaten   Mr.  Richard
                      Laraviere?

                      You ever threatened [sic] anyone?

            Carron  answered  "No"  to  each  of these  questions.    The

            prosecutor attempted to impeach  Carron's denial by asking if

            Lanoue  had told him that Laraviere was the informant in this

            case,  if Lanoue  had  then demanded  that  he visit  him  in

            prison,  and whether  he and  Lanoue had  discussed Laraviere

            during  the visit.  Carron confirmed  that Lanoue had invited

            him to visit him  in prison in August of 1994 and that he did

            so,  but denied that  they had  discussed Laraviere.   Carron

            exhibited a poor memory for dates, but otherwise held up well

            during  this  part of  the  cross examination.    When Carron

            stated that he could not  swear that he had known Lanoue  for

            fifteen  years but was sure  he had not  known him for thirty

            years,  the prosecutor  began reading  Lanoue's words  from a

            document while, in the court's words, "brandishing" it at the

            witness:  

                      Q    Did Mr. Lanoue ever tell you that he
                           has known you for thirty years?


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                      A    No, he never did.

                      Q    Did  Mr. Lanoue ever tell you not to trust the
                           cops.   They  know  who the  informant is  and
                           that's why he  wanted you to go  on August the
                           twenty-first to meet him?

                      A    No.

                      Q    He  didn't tell you,  sir --  specifically, on
                           August the 20th of 1994, did Mr. Lanoue say to
                           you, "Let  me tell  you something.   You don't
                           trust the  cops.   You should  know that.   We
                           forced it out of them.  They got the informant
                           from up north near the Worcester area"?

                                Mr. Martin:  I object.

                      A    I don't remember that.

                      The  court  did  not  sustain  the  objection,  but

            directed  counsel  to approach  the  bench.   The  prosecutor

            admitted that he had been reading Lanoue's statements from  a

            transcript of a recorded telephone  call that Lanoue had made

            to  Carron from  the  Wyatt Detention  Center while  awaiting

            trial, and that he had not disclosed it.  The court asked the

            prosecutor  whether the  document corroborated  his questions

            and he replied that it did.  Defense counsel objected to  the

            use of  the conversation because the  government had withheld

            it in violation of Fed.  R. Crim. P. 16 and the  court's pre-

            trial discovery order, and requested a copy of the transcript

            and a recess during which he could review it.  The prosecutor

            argued  that defense counsel was not entitled to a recess and

            that he was permitted to use the conversation  because Carron

            had committed perjury,  it was retrieved in connection with a



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            separate investigation of  witness intimidation,  and it  was

            not  the  fruit  of  a  wiretap.    The  court  directed  the

            prosecutor  to  continue  his  cross  examination  on another

            subject,  did  not  admonish  him, strike  the  questions  or

            testimony, or give a curative instruction.

                      Part two  of Carron's cross  examination proceeded.

            In contrast to  his apparently confident answers in the first

            part of  his cross examination, Carron  disavowed any ability

            to fix a date or time period on any event, expressing concern

            that  the   prosecutor  was  attempting  to   trap  him  into

            committing perjury.   He backed away from important  parts of

            his direct  testimony, for example,  now denying that  he had

            actually  seen Lanoue  hand  Laraviere money  after the  test

            drive. 

                      After  the  court  excused  the jury  for  a  lunch

            recess, defense  counsel moved  for a mistrial,  arguing that

            the prosecutor had violated Fed. R. Crim.  P. 16(a)(1)(A) and

            the  pre-trial discovery order, that Carron's credibility had

            been irreparably damaged,  and that he  had been deprived  of

            the  opportunity to prepare Carron with the statement or make

            an informed decision whether  to call him as a  witness.  The

            prosecutor argued that  he had no  obligation to produce  the

            conversation under  Fed. R. Crim  P. 16(a)(1)(A) or  the pre-

            trial  discovery order  because  it did  not become  relevant

            until Carron testified  inconsistently with it and it was not



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                                          15















            a wire intercept.   The court ordered an  evidentiary hearing

            for the  following  day,  and  excused  the  jury  until  the

            following Monday.

                      At   the  hearing  on  Friday,  October  28,  Agent

            Brosnan,  the FBI agent in charge of the case against Lanoue,

            testified that on August 22, 1994, he requested  and received

            from  the  Wyatt  Detention  Center  a  cassette  tape  of  a

            conversation  between Lanoue  and Carron  that took  place on

            August 20, 1994, which he had transcribed and provided to the

            prosecutor.   Agent  Brosnan  testified that,  since Lanoue's

            arrest and indictment and as part of his investigation of the

            pending case, he had  gone to the Wyatt Detention  Center and

            been permitted to  listen to  various tapes in  an effort  to

            hear   and   obtain   recordings   of    Lanoue's   telephone

            conversations  with Carron, but that he found none.  In April

            of 1994, he  requested that  the facility keep  track of  all

            calls made by Lanoue.   He was told that it would  be done by

            spot  checking, but was not notified of any of Lanoue's calls

            other than that of August 20.3 

                      In the  August 20 conversation, Lanoue  told Carron

            that  he had discovered during  a recent hearing  in his case

            that   Laraviere   was  the   source   of   the  government's

                                
            ____________________

            3.  The primary purpose of the hearing was to resolve whether
            the conversation  was intercepted in violation  of Title III.
            Jennifer  Egan,  Chief of  Programs  at  the Wyatt  Detention
            Center, also  testified at  the hearing, but  only on  issues
            relevant to the defendant's Title III claim.

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                                          16















            information.  Lanoue did  not refer to Lariviere by  name but

            as  "your  friend,    the millionaire,"  the  informant  from

            Worcester,  and  the  only  person who  could  have  provided

            information  about the  Oldsmobile on December  17.   He said

            that  Laraviere had  not gone  to jail  as expected,  advised

            Carron  to be careful of Laraviere, and asked Carron to visit

            him  in prison.  Lanoue  made statements about the Oldsmobile

            such  as, "They  know  all about  the  car, they  know  about

            everything," "you  know I  bought that  car,"  and "that  car

            there that I bought at American Motors."

                      At the conclusion  of the evidentiary  hearing, the

            defense again argued for a mistrial.  The government conceded

            that it had violated Fed. R. Crim. P. 16, but argued that the

            error was  made in good  faith and  that the defense  was not

            prejudiced.

                      On the  following  Monday, October  31,  the  court

            ruled  that the prosecutor's  violation of  Fed. R.  Crim. P.

            16(a)(1)(A)  did not  warrant  a mistrial  or other  remedial

            action.    In  response  to  the defendant's  request  for  a

            curative instruction explicitly referring to the prosecutor's

            questions  of  the  previous Thursday,  the  court  generally

            instructed  the  jury that  if counsel's  questions "indicate

            that a particular thing  is so, you shouldn't accept  that as

            being established unless and until you hear evidence that the

            thing is so."



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                      The   third  part  of  Carron's  cross  examination

            ensued.   Contrary to  his representation that  he would  not

            refer to  the conversation again, the  prosecutor again asked

            Carron whether  he had had any  conversations about Laraviere

            with Lanoue after  Lanoue's arrest.  The  court overruled the

            defendant's objection, and Carron  again answered that he did

            not recall.   Carron again expressed fear that the prosecutor

            was trying to make him perjure himself.  He refused to answer

            "yes"  or "no"  to  questions concerning  the  events he  had

            testified to on direct  examination -- that Lanoue  wished to

            purchase  the  car  for  his  daughter,  that  Laraviere  had

            obtained  the keys at the dealership, that they then took the

            car for  a test drive, and  that he saw Lanoue  give money to

            Laraviere thereafter -- instead answering  "evidently," "that

            was my impression," "I  assume so," "I don't recall,"  and "I

            don't recall nothing."        2.Analysis

                      We  review  the  trial  court's  handling  of   the

            government's  discovery violation  for  abuse of  discretion.

            United States v. Hodge-Balwing,  952 F.2d 607, 609  (1st Cir.
            ______________________________

            1991).  In order to obtain a reversal  on appeal, Lanoue must

            show  that the trial court abused its discretion in ruling on

            the effect  of the  discovery  violation.   United States  v.
                                                        _________________

            Tajeddini,  996 F.2d  1278, 1287  (1st Cir.  1993).   We will
            _________

            order a new trial if the discovery violation caused prejudice

            not cured by the trial court's remedy.  



                                         -18-
                                          18















                      The  trial court  found that  no mistrial  or other

            remedy  was warranted  because: (1)  the prosecutor  acted in

            good faith; (2) the purposes of Rule 16 were not subverted by

            the withholding and use of the undisclosed evidence; and  (3)

            the  defendant was  not  prejudiced.   See  United States  v.
                                                   ___  _________________

            Gladney, 563 F.2d 491, 494-95 (1st Cir. 1977).
            _______

                                a.   Did  the  prosecutor  act   in  good

            faith?

                      The court found that the prosecutor had made a good

            faith error in  judgment.   Such a finding  depends in  large

            measure  on whether the prosecutor's explanation was credible

            and is therefore entitled  to considerable deference.  United
                                                                   ______

            States v.  Levy-Cordero, 67 F.3d 1002, 1013  (1st Cir. 1995).
            _______________________

            In this  case, the prosecutor's explanations  for withholding

            the statement were both factual and legal.  To the extent the

            court relied on the  reasonableness of the prosecutor's legal

            arguments,  we temper  the  usual deference  accorded  purely

            factual findings.   Cf. RCI  Northeast Servs. Div.  v. Boston
                                __  _____________________________________

            Edison Co., 822  F.2d 199, 203 (1st Cir. 1987) ("a finding of
            __________

            fact predicated upon, or induced by, a misapprehension of law

            is  robbed of its customary vitality").  We conclude that the

            trial  court's finding of good faith was not supported by the

            facts or the law.

                      First,  the court gave weight to  the fact that the

            government had  not received  the statement until  two months



                                         -19-
                                          19















            prior to trial.   But because the government's  obligation to

            disclose the defendant's recorded statements is  a continuing

            one, Fed. R.  Crim. P.  16(c), that was  a factor  militating

            against rather than in favor of a finding of good faith.  Cf.
                                                                      __

            Tajeddini, 996  F.2d at 1287  (no bad faith  where prosecutor
            _________

            was unaware of defendant's statement until the day  before he

            disclosed  it to  defense counsel  three days  before trial).

            Instead of disclosing the statement as soon as he received it

            from Agent Brosnan, two months prior to trial, the prosecutor

            never disclosed it  at any  time before using  it before  the

            jury.     Second,  the  court   thought  that  there   was  a

            "colorable question"  as to whether  the statement had  to be

            produced because it was a "mixed statement" by the  defendant

            and a potential witness,  so that the government only  had an

            obligation to produce the  statement "to the extent it  was a

            statement  of  Mr.   Lanoue."    But  this  theory,  even  if

            "colorable,"  does  not  explain  the  prosecutor's  actions.

            "[S]tatements discovered by means of electronic surveillance"

            are  within Rule 16(a)(1)(A).   Fed. R. Crim.  P. 16 advisory

            committee's note.  And  the rule contains no exception  for a

            defendant's  recorded  statements  on  the  basis  that  they

            comprise one  side of a conversation.   The court's pre-trial

            order  required  disclosure  of  any  statements  subject  to

            disclosure  under  Rule  16  and  "[w]hether  the  government

            counsel's file indicates that any wire or oral communications



                                         -20-
                                          20















            have  been intercepted."  Whether or not Carron's side of the

            conversation  was required to be disclosed under Rule 16, the

            transcript  in its  entirety should  have been  disclosed for

            purposes of determining its  admissibility before trial.  See
                                                                      ___

            United  States v. Latham, 874  F.2d 852, 864  (1st Cir. 1989)
            ________________________

            (it  was  error  for  the  government  not  to have  provided

            defendant  with  tape  recordings   containing  conversations

            between  defendant  and   government  witnesses).    If   the

            prosecutor  genuinely  believed  that  Carron's  side of  the

            conversation was  not discoverable, the  reasonable and  only

            permissible  course  would have  been  to  seek redaction  of

            Carron's words.4   See Fed.  R. Crim. P.  16(d)(1).   Because
                               ___

            Rule  16 could not reasonably be read to allow the government

            to  withhold Lanoue's  side of  the conversation,  the "mixed

            statement" rationale did not support a finding of good faith.

             

                      Third,   the  court   found  that   the  prosecutor

            genuinely believed that the statement was not relevant within

            the meaning of Rule 16.  The statement was relevant if it had

            "any tendency to make the existence of any fact that [was] of


                                
            ____________________

            4.  Nothing  precluded disclosure  of  Carron's  side of  the
            conversation.  He was  not a government witness, 18  U.S.C.  
            3500(a),  and his side of the conversation was not grand jury
            testimony.  United States v.  McMahon, 938 F.2d 1501, 1504-05
                        _________________________
            (1st Cir. 1991) (explaining rule that defense is not entitled
            to  the grand jury testimony of a defense witness until after
            cross examination as being  based on the need for  grand jury
            secrecy).

                                         -21-
                                          21















            consequence to the determination  of the action more probable

            or  less probable  than it  would  be without  the evidence."

            Fed. R. Evid. 401.  Relevance is to be interpreted broadly in

            the context of  Rule 16(a)(1)(A).   See Fed. R.  Crim. P.  16
                                                ___

            advisory committee's note (rejecting narrow interpretation of

            defendant's  right to  discover  own statements).   The  rule

            gives a "defendant  virtually an absolute  right" to his  own

            recorded  statements  "in  the  absence   of  highly  unusual

            circumstances  that  would  otherwise  justify  a  protective

            order."  2 C.  Wright, Federal Practice and Procedure    253,
                                   ______________________________

            at 46-47  (1982)  (internal  citations  and  quotation  marks

            omitted).   See  also United  States v.  Bailleaux, 685  F.2d
                        ___  ____ ____________________________

            1105, 1114 (9th Cir.  1982) (adopting broad interpretation of

            relevance as applied to defendant's statements as a matter of

            practicality); United States v. Haldeman, 559 F.2d 31,  74 n.
                           _________________________

            80  (D.C. Cir.  1976)  (en banc)  (disclosure of  defendant's

            statements is "practically a matter  of right even without  a

            showing of materiality"), cert. denied, 431 U.S. 933 (1977). 
                                      ____  ______

             

                      The statement obviously was  relevant.  Lanoue made

            statements  about  the  Oldsmobile that  were  arguably  both

            inculpatory and exculpatory.5   He  discussed the  informant,

            who was  a potential government witness,  and made statements

                                
            ____________________

            5.  On appeal, Lanoue does not press his contention  at trial
            that  the  conversation  was  required  to  be  disclosed  as
            exculpatory evidence.

                                         -22-
                                          22















            relevant  to the  defense theory  that the  government's case

            rested  on false information provided by that informant.  See
                                                                      ___

            United  States v. Noriega, 764 F. Supp. 1480, 1494 (S.D. Fla.
            _________________________

            1991)  (conversations of  defendant recorded in  prison about

            potential  government  witnesses  were  relevant  within  the

            meaning of  Rule 16(a)).   Even assuming that  the government

            could not envision the statement's relevance before trial, it

            certainly  understood  its  relevance  when  defense  counsel

            outlined the defense theory in his opening statement.  

                      The reasons proffered by the prosecutor in  support

            of his belief that the statement  was not relevant -- that it

            was obtained  in a separate investigation  of alleged witness

            intimidation, that  the conversation did not  become relevant

            until Carron  testified inconsistently  with it, and  that he

            did  not expect  Carron  to testify  about Laraviere  -- were

            without basis in fact or law.

                      Rule  16(a)(1)(A)  contains  no  exception   for  a

            defendant's recorded  statements  if  they  are  obtained  in

            connection with a separate investigation, so long as they are

            relevant  to the pending case.  "[A]cceptance of the language

            for just what it says is dictated by the fundamental fairness

            of granting the  accused equal  access to his  own words,  no

            matter  how the government came  by them." United   States v.
                                                       __________________

            Caldwell, 543 F.2d 1333, 1353 (D.C. Cir. 1974), cert. denied,
            ________                                        ____  ______

            423 U.S.  1087  (1976).   Moreover,  it  appears  that  Agent



                                         -23-
                                          23















            Brosnan  obtained  the conversation  in  connection  with his

            investigation of the pending  case.  For at least  six months

            prior to  trial, he had  been attempting to  obtain telephone

            conversations  between  Lanoue  and  Carron as  part  of  his

            investigation  of  the  case  pending against  Lanoue.    The

            prosecutor  stated  that  he  knew about  and  approved  that

            activity, and that immediately  after obtaining the August 20

            conversation, he subpoenaed Carron to  testify against Lanoue

            in the pending case.  It is therefore difficult to credit the

            "separate  investigation"  rationale.    In  any  event,  the

            conversation contained Lanoue's statements that were relevant

            to the charges pending  against him and his defense  to those

            charges.   Those  statements  therefore were  required to  be

            disclosed by the plain terms of Rule 16.  

                      As   to  the   prosecutor's  contention   that  the

            conversation  did not become  relevant until Carron testified

            inconsistently with  it, the government's duty  to disclose a

            defendant's  relevant recorded  statements does not  hinge on

            whether or when the  government uses the statement.   Only an

            oral  statement to a known government agent is required to be

            disclosed "if the government intends to use that statement at

            trial."  Fed. R. Crim. P. 16(a)(1)(A).  But even that type of

            statement is  required to be disclosed  regardless of whether

            the government intends to  introduce it in its case-in-chief,

            use it for impeachment, or introduce it in rebuttal. See Fed.
                                                                 ___



                                         -24-
                                          24















            R. Crim. P. 16  advisory committee's note to  1991 amendment.

            Rule 16(a)(1)(A)  is  unequivocal that  the government  "must

            disclose . . . any relevant . . . recorded statements made by

            the  defendant."   Even  an  illegally obtained  inconsistent

            statement of a defendant that can only be used to impeach him

            (but not a defense witness), Harris v. New York, 401 U.S. 222
                                         __________________

            (1971);  James v. Illinois, 493 U.S. 307, 313 (1990), must be
                     _________________

            produced to him  under Fed.  R. Crim. P.  16(a)(1)(A).   See,
                                                                     ___

            e.g.,  United States v. Lewis, 511 F.2d 798 (D.C. Cir. 1975).
            ____   ______________________

            The  government's theory  that  Lanoue's statements  were not

            relevant until a  witness testified inconsistently  with some

            part   of   the   conversation   was   therefore   erroneous,

            particularly where  Carron was  not cross examined  about his

            own statements,  but about  Lanoue's.   See United  States v.
                                                    ___ _________________

            Scafe,  822  F.2d  928,  935  (10th  Cir.  1987)  (government
            _____

            violated Rule 16 by withholding defendant's letters and using

            them to cross examine defense witness).

                      The  prosecutor's representations  that he  did not

            expect Carron to testify  until the day before  he testified,

            and that even then he did not expect  Carron to testify about

            Laraviere's character, were irrelevant because, as explained,

            Rule  16(a)(1)(A)  requires the  government  to  disclose the

            defendant's recorded statements regardless of whether or when

            it intends  to use them.  Moreover, it is difficult to credit

            the government's representation.   The recorded  conversation



                                         -25-
                                          25















            itself  and  defense  counsel's  opening  statement  put  the

            government   on  notice  that   Carron  would  testify  about

            Laraviere.

                      Finally,  the  court   noted  that,  although   the

            prosecutor could have tried to  conceal the violation, he did

            not.   It is true  that the  prosecutor immediately  admitted

            that  he  held  a  transcript  of  the  defendant's  recorded

            conversation  in his hand and  that he had  not disclosed it,

            and conceded the next day, with a myriad  of excuses, that he

            had  violated Rule 16.   We will not  overlook a prosecutor's

            failure  to know or follow  the discovery rules  on the basis

            that he did not try to hide the violation.  

                      In any  event, whether the prosecutor  withheld the

            defendant's  statements in  good faith  or intentionally  has

            little  to do with whether  the court should  have declared a

            mistrial,  since  prosecutorial  good  faith  could  have  no

            mitigating  effect   on  the  prejudice   flowing  from   the

            violation.   See United States  v. Padrone, 406  F.2d 560 (2d
                         ___ _________________________

            Cir.  1969)   (granting  new  trial  where  inadvertent  non-

            disclosure of defendant's statement affected trial strategy).

             

                                b.   Were the purposes of Rule 16
                                     subverted?

                      Rule  16's  mandatory  discovery   provisions  were

            designed   to   contribute   to  the   fair   and   efficient

            administration  of  justice by  providing the  defendant with


                                         -26-
                                          26















            sufficient information  upon which  to base an  informed plea

            and  litigation  strategy;  by  facilitating  the raising  of

            objections to admissibility prior to trial; by minimizing the

            undesirable effect of surprise  at trial; and by contributing

            to  the accuracy  of the  fact-finding process.   See  United
                                                              ___  ______

            States  v. Alvarez, 987 F.2d 77, 84-86 (1st Cir. 1993), cert.
            __________________                                      ____

            denied, __ U.S. __,   114 S. Ct. 147 (1993); Fed. R. Crim. P.
            ______

            16 advisory committee's note.  The trial court found that the

            government's  discovery  violation  had  not  undermined  the

            purposes of Rule 16 because it did not cause the defendant to

            unknowingly subject himself to  impeachment;6 Rule 16 was not

            intended  to protect  against  surprising a  witness with  an

            inconsistent statement; and it may have actually assisted the

            accuracy  of  the  fact-finding  process  by  surprising  the

            witness.

                      All  of these  reasons miss  the point  because the

            government cross examined Carron  by referring to and reading

            Lanoue's,  and not Carron's, words.  Lanoue had a right under

            the  Federal  Rules of  Criminal  Procedure  to discover  his

            recorded statements  and to  prepare for trial  and devise  a

            defense strategy  based on the evidence  disclosed.  Alvarez,
                                                                 _______

            987  F.2d at  85.   The court's  reasoning that  surprising a

            witness with the defendant's statements promoted accuracy and


                                
            ____________________

            6.  Lanoue testified  after Carron, and  therefore after  the
            discovery violation came to light.

                                         -27-
                                          27















            therefore militated against remedial  action turns Rule 16 on

            its head.  Due to the nondisclosure, the defense was deprived

            of the  opportunity to  refresh Carron's recollection  and to

            investigate the circumstances  surrounding the  conversation.

            This unfairly  surprised the defense  and deprived it  of the

            opportunity to design an intelligent litigation strategy that

            responded to the statement.

                      We also note  that it  is far from  clear that  the

            cross examination  assisted the accuracy  of the trial.   The

            government opened its cross examination by accusing Carron of

            threatening Laraviere.  At sidebar the prosecutor stated that

            Carron  had threatened  Laraviere, but  proffered  nothing to

            support the accusation  other than to  say that the  document

            from  which   he  read  corroborated  his   questions.    The

            conversation contained no mention of threats.  In  it, Lanoue

            told Carron that Laraviere was the informant, that his lawyer

            was putting an investigator on Laraviere, that  he should not

            warn Laraviere, and that he should be wary of Laraviere.   We

            doubt  that  this was  a sufficient  basis for  asking Carron

            whether  he had threatened  Laraviere, and it  plainly was an

            insufficient  basis  for asking  if  he  had ever  threatened

            anyone.  Cf.  United States v. Lilly, 983 F.2d  300, 306 (1st
                     ___  ______________________

            Cir. 1992) (prosecutor's explanation for asking  question was

            plausible where  he had in  hand a  judicial opinion  finding

            appellant  was  not a  credible  witness);  United States  v.
                                                        _________________



                                         -28-
                                          28















            Gomez-Pabon,  911   F.2d  847,   857  n.5  (1st   Cir.  1990)
            ___________

            (expressing  doubt  that  prosecutor's  questions  to defense

            witness  about whether  he was  under investigation  for drug

            smuggling were improper  since the prosecutor  volunteered to

            call witnesses to attest to the foundation of the questions),

            cert.  denied, 498 U.S. 1074 (1991);  United States v. Madrid
            ____   ______                         _______________________

            Ramirez, 535  F.2d 125,  129 (1st  Cir. 1976) (appellant  not
            _______

            prejudiced by question to defense witness about prior offense

            because  it  was  based on  an  actual  conviction).   Carron

            apparently was  not charged with threatening  Laraviere.  The

            government did not  present evidence in its rebuttal  case to

            refute Carron's description of the FBI agents' visit in which

            he said  that the  agents  pressured him  to testify  against

            Lanoue, not  that they accused him  of threatening Laraviere.

            The government  was free to show  through admissible evidence

            that its  informant had  been threatened,  but it offered  no

            such evidence.  Nonetheless, the jury may  well have received

            the  impression from the prosecutor's improper questions that

            Laraviere did not testify  because Carron had threatened him.

            If  Lanoue's  counsel  had  been  able  to  refresh  Carron's

            recollection  with the  transcript of  the conversation,  the

            jury  would have  been warranted  in reaching  the conclusion

            that Laraviere  did not  testify because his  testimony would

            not have helped the government.    





                                         -29-
                                          29















                      The   prosecutor's   failure   to    disclose   the

            conversation  at any time before using it also subverted Rule

            16's purpose of facilitating the fair and efficient pre-trial

            determination  of the  admissibility of  Lanoue's statements.

            Although an  evidentiary hearing was  held, it was  not until

            after the  prosecutor had already used  the statements before

            the jury.    Moreover,  we think  the  hearing  was  unfairly

            truncated  due to  the government's  late disclosure.   After

            Agent Brosnan testified, defense counsel attempted  to obtain

            the  presence  of the  Wyatt  Detention  Center employee  who

            provided  Agent Brosnan  with  the conversation  in order  to

            explore whether it was intercepted  as a result of monitoring

            directed specifically  against Lanoue, which was  relevant to

            its admissibility  under Title  III.   Ms. Egan,  Director of

            Programs at  the facility, responded that  the employee would

            not attend the hearing because it was his day off.  The court

            refused the defendant's request for a recess during which the

            prosecutor could convince Ms.  Egan of the importance of  the

            employee's  attendance.    If   the  conversation  had   been

            disclosed two months prior to trial when it should have been,

            defense counsel could have  obtained any necessary witnesses.

            The   incomplete  mid-trial   hearing  necessitated   by  the

            prosecutor's  failure  to  disclose  was  neither   fair  nor

            efficient.  

                                c.   Was Lanoue prejudiced?



                                         -30-
                                          30















                      The court found that Lanoue had not been prejudiced

            for  the following reasons:  although the government had done

            an effective  job of impeaching Carron,  the statement played

            little role  in that  process  because it  was peripheral  to

            Carron's testimony and the defense theory; Carron denied that

            Lanoue  made the statements; and the  statements had not been

            introduced into evidence. 

                      The improper questions based on Lanoue's statements

            were not  peripheral to  Carron's testimony and  the defense.

            At the close of  the government's case-in-chief, the evidence

            concerning the stolen vehicle  charge was that the Oldsmobile

            was  reported  stolen on  December  21  and that  Lanoue  was

            driving it  on December  19 and  again on December  23.   The

            defense, consisting  of Lanoue's and Carron's  testimony, was

            that Lanoue  had purchased the  car from  Laraviere, who  had

            represented that the  car was  his to sell  and then  falsely

            informed the FBI that Lanoue was planning to steal the car in

            order to obtain favorable treatment on pending theft charges.

            If  the  jury  believed that  testimony,  it  would have  had

            grounds for acquitting Lanoue of the stolen vehicle charge.  

                      A  key  element  of  the defense,  argued  in  both

            opening  and  closing,  was  that the  informant  upon  whose

            information  the  government's  entire  case  rested did  not

            testify at trial.   Indeed, the government clearly recognized

            that  Laraviere's absence  and  the implication  that he  had



                                         -31-
                                          31















            provided  false  information  could  defeat its  case.    The

            government objected when the  defense attempted to elicit the

            informant's name  and the exact information  he had provided,

            and urged the jury in closing argument to ignore  Laraviere's

            absence.   Yet it offered no evidence to explain his absence,

            other  than   the  improper  questions  accusing   Carron  of

            threatening Laraviere and insinuating that the threat stemmed

            from a conversation with Lanoue.  As the government intended,

            these questions  had a detrimental  effect on a  defense that

            was otherwise uncontradicted.  Cf. United States v. Lewis, 40
                                           ___ ______________________

            F.3d  1325, 1340 (1st Cir. 1994) (no prejudice to the defense

            due  to  government's  delayed fingerprint  analysis  because

            there  was ample evidence to  refute and none  to support the

            defendant's theory that he was framed).

                      Lanoue also was  prejudiced because the failure  to

            disclose his  statements deprived  him of the  opportunity to

            effectively prepare  for trial  and to design  an intelligent

            trial strategy.  See  Alvarez, 987 F.2d at 85;  United States
                             ___  _______                   _____________

            v. Hemmer, 729 F.2d 10, 13 (1st Cir.), cert. denied, 467 U.S.
            _________                              ____  ______

            1218 (1984); Gladney, 563  F.2d at 494.  If  the conversation
                         _______

            had  been disclosed two months before trial as it should have

            been, Lanoue would have known that Agent Brosnan obtained  it

            in  connection  with  a  "separate  investigation of  witness

            intimidation."  Lanoue's counsel would then have been able to

            investigate whether  there was such an  investigation and, if



                                         -32-
                                          32















            so,  what came of it,  enabling him to  either prepare Carron

            for  cross examination on that subject or make an intelligent

            decision not to call him as a witness.     

                      Carron's  denial  that Lanoue  made  the statements

            militates  in  favor of  rather  than  against a  finding  of

            prejudice  because  defense  counsel   was  deprived  of  the

            opportunity   to  refresh  Carron's  recollection  about  the

            content of the conversation.  See United States v. Rodriguez,
                                          ___ __________________________

            799 F.2d 649, 654 (11th Cir. 1986) (defendant's denial of the

            existence of undisclosed items bolstered rather than weakened

            his  claim  for a  mistrial because  it  deprived him  of the

            opportunity   to  support   the   denial   or   refresh   his

            recollection,   thus  defeating  purposes  of  the  discovery

            requirement).   Carron  answered  "no," and  then finally  "I

            don't remember  that" to questions  asking him if  Lanoue had

            made  statements  about   Laraviere,  while  the   prosecutor

            referred to,  read from, and brandished  a document obviously

            containing those  statements.   The defense should  have been

            able to refresh Carron's  recollection about what Lanoue said

            to him.  

                      Furthermore, Carron was  thoroughly unnerved by the

            prosecutor's  use of  specific dates  while referring  to the

            transcribed conversation.  To be sure, he was uncertain about

            specific  dates and  time  frames throughout  his  testimony.

            This  may  or   may  not  have  detracted  from  his  overall



                                         -33-
                                          33















            credibility  but when  the prosecutor  began to  brandish the

            transcript,  it received  a major  blow.   Thereafter, Carron

            refused to directly answer any question concerning dates, and

            eventually  any question  at  all, expressing  fear of  being

            trapped into committing perjury.   If defense counsel had had

            access to the transcript, he could have attempted  to refresh

            Carron's recollection.   Failing that, he  could have decided

            not  to  call  Carron as  a  witness  at all.    Instead, the

            government  was able  to  destroy, with  the defendant's  own

            statements, the  credibility of the only  defense witness who

            testified  to the  defense  theory other  than the  defendant

            himself.        

                      That the  statement was not actually  introduced in

            evidence  does  not show  lack  of  prejudice.   An  improper

            question alone can require a mistrial or other  potent remedy

            if  it  causes prejudice.   See  Rodriguez,  799 F.2d  at 654
                                        ___  _________

            (district court erred in denying  mistrial on the basis  that

            the undisclosed  material was  not  introduced into  evidence

            where  the government's  use of  the material  in questioning

            defendant   was  just  as   effective  as  if   it  had  been

            introduced); Padrone,  406 F.2d at 560  (although undisclosed
                         _______

            statement was not introduced, district court erred in failing

            to grant  mistrial  where defendant's  direct  testimony  was

            inconsistent  with the  statement).   Here,  the government's

            failure to disclose the  conversation and its questions based



                                         -34-
                                          34















            on the conversation could well have led to the destruction of

            Carron's credibility and undermined the defense theory.  That

            the conversation was not introduced in evidence did not erase

            or mitigate the prejudice.    d                             .
                      Did the trial court take appropriate action to cure
                      and prevent prejudice?

                      When  a party fails to comply with Fed. R. Crim. P.

            16, the court is empowered to order that party to comply with

            the rule, grant a continuance, exclude the evidence, or enter

            other just relief.  Fed.  R. Crim. P. 16(d)(2).  What  remedy

            should  be  applied  depends   on  the  "seriousness  of  the

            violation  and the  amount  of prejudice  to the  defendant."

            Gladney,  563 F.2d at 494.   Here, the  violation was serious
            _______

            and  likely to  have caused serious  prejudice.   Because the

            statement was not disclosed at any time before the government

            used it, or in enough time that the defense could make use of

            it, a mistrial  was the only appropriate  remedy.  We  do not

            decide  whether  the  court   would  have  acted  within  its

            discretion  if it  had taken  more forceful measures  than it

            did,  but  we note  that the  court  could have  stricken the

            questions,  given   an   immediate  and   explicit   curative

            instruction, granted  the defendant's  request for  a recess,

            and  even  halted  the  cross examination  and  then  allowed

            redirect.  

                      Moreover, the court did  not act to prevent further

            prejudice.   Although the prosecutor had  represented that he



                                         -35-
                                          35















            would not refer  to the conversation  again, he reminded  the

            jury  of  the statements  he had  read  four days  earlier by

            asking  Carron whether  he  had had  any conversations  about

            Laraviere  with the  defendant after the  defendant's arrest.

            Defense counsel's objection was  overruled, and Carron  again

            answered  that  he  did  not  recall.    By   overruling  the

            objection, the  court tacitly approved the  improper question

            in the jury's  presence.   See United States  v. Manning,  23
                                       ___ _________________________

            F.3d 570, 575 (1st Cir. 1994).  The   government  argues   on

            appeal  that  the trial  court did  not abuse  its discretion

            because it eventually  gave Lanoue's counsel  the opportunity

            to review the  statement with Carron to  determine whether he

            wished to recall  him.  The  court ignored defense  counsel's

            immediate request for a recess and to be given the statement.

            The court denied his  request for a recess at  the conclusion

            of Carron's cross  examination so that  he could prepare  him

            for redirect.  Instead,  the court permitted Lanoue's counsel

            to meet with Carron for the first time during a later  recess

            in the middle  of Lanoue's direct  testimony, ruling that  he

            could recall Carron to  the witness stand if his  reasons for

            doing so were sufficient.  

                      This  is not  a case  of merely  delayed disclosure

            where  "the critical inquiry is  . . .  whether the tardiness

            prevented defense counsel from employing the material to good

            effect."  United  States v.  Osorio, 929 F.2d  753, 757  (1st
                      _________________________



                                         -36-
                                          36















            Cir. 1991).  The government's use of the conversation without

            disclosing it at all precluded Lanoue's counsel from using it

            to  any effect.    When he  twice requested  a  recess in  an

            attempt  to mitigate  the harm  already done,  those requests

            were denied.   Cf. Hodge-Balwing, 952 F.2d  at 609 (defendant
                           ___ _____________

            failed to  show prejudice where court  ordered the government

            to hand over the case report before the witness testified and

            defendant failed to seek a continuance); Hemmer,  729 F.2d at
                                                     ______

            13 (defendants  failed to show prejudice  where they received

            reports, used them  in their  defense, and failed  to seek  a

            continuance).  We do not fault Lanoue's counsel for declining

            to recall  Carron at  a point  when he was  in shambles  as a

            witness as the  result of the  government's violation of  the

            rules and the trial  court's utter failure to send  a message

            to the  witness, the jury  or counsel  that the  government's

            questions were improper.    

                      Count  V is vacated  and remanded  for a  new trial

            because  Lanoue plainly  was prejudiced in  defending against

            the stolen motor vehicle charge.  There was no prejudice with

            respect  to Count VI because Carron's testimony did not touch

            on  whether Lanoue  knowingly transported  a firearm  with an

            obliterated serial number.  

                      Although  it  is  a  more  difficult  question,  we

            believe that  Lanoue also suffered  prejudice as to  Count I,

            the  conspiracy count.  The jury was instructed that it could



                                         -37-
                                          37















            convict  Lanoue  of conspiracy  if it  found he  conspired to

            commit  any  one  or  more  of  six  object  offenses:    (1)

            interstate  transportation  of  a  stolen  motor  vehicle, 18

            U.S.C.    2312; (2) possession of a stolen motor vehicle that

            had  crossed   state  boundaries,  18  U.S.C.      2313;  (3)

            interstate transportation of a  firearm by a convicted felon,

            18 U.S.C.   922(g)(1); (4) using or carrying a firearm during

            and  in  relation  to  an  attempt  or conspiracy  to  commit

            robbery, 18 U.S.C.    924(c)(1); (5) interstate possession of

            a stolen firearm (referring to Meade's revolver), 18 U.S.C.  

            922(j); or (6) interstate transportation of a firearm with an

            obliterated serial  number (referring to  Lanoue's revolver),

            18  U.S.C.   922(k).   The object offenses  best supported by

            the evidence were the two  relating to the stolen Oldsmobile,

            with respect to which  Lanoue was prejudiced.  Unless  we can

            conclude with fair assurance  that the jury relied on  one of

            the  other  four  objects,  we must  reverse  the  conspiracy

            conviction.   Cf. United States v. Morrow, 39 F.3d 1228, 1236
                          ___ _______________________

            (1st Cir. 1994) (erroneously  admitted evidence was  harmless

            where  it was used  to prove an  object of  the conspiracy to

            which  defendant  was  never  tied  and  it  was  a  "virtual

            certainty" that jury convicted him for his involvement in the

            other object offense), cert.  denied, __ U.S. __, 115  S. Ct.
                                   ____   ______

            1328 (1995). 





                                         -38-
                                          38















                      The evidence of a  conspiracy to commit any  of the

            latter  four object  offenses was  not overwhelming,  and the

            jury's verdicts give  us little confidence that  it relied on

            any of them  to find Lanoue  guilty of conspiracy.   The jury

            necessarily rejected all  of them as objects  of an agreement

            by Cole or Meade when it acquitted them of Count I.  Although

            we  could not conclude from  this that there was insufficient

            evidence  of a  conspiracy, United  States v.  Bucuvalas, 909
                                        ____________________________

            F.2d 593, 597 (1st  Cir. 1990), the question we  address here

            is not what a  rational jury could conclude but  "rather what

            effect the error  had or reasonably may be taken  to have had

            upon  the jury's decision" in this case.  Kotteakos v. United
                                                      ___________________

            States, 328 U.S. 750, 764 (1946). 
            ______

                      The  fourth object  offense,  using  or carrying  a

            firearm  during and in relation  to a crime  of violence, was

            charged  as a  substantive offense  in Count  IV.   The court

            instructed  the jury that it could find a defendant guilty of

            Count IV if  it found that he (1)  committed either the Hobbs

            Act attempted robbery or  the Hobbs Act conspiracy  to commit

            robbery, and (2)  knowingly used or carried a  firearm during

            or in relation to that crime  or those crimes; or if it found

            that he aided  and abetted that offense.  The  jury found all

            three defendants  not guilty of  using or carrying  a firearm

            during  and in relation to an attempt or conspiracy to commit

            robbery, and of  aiding and abetting that offense; not guilty



                                         -39-
                                          39















            of  Count II,  the Hobbs  Act conspiracy;  and not  guilty of

            Count  III, the Hobbs Act attempt, and of aiding and abetting

            that offense.   Under these circumstances, we  think that the

            jury  necessarily rejected,  as  an  object  of the  Count  I

            conspiracy,  using  or  carrying  a  firearm  during  and  in

            relation to an attempt or conspiracy to commit robbery.7  

                      The  third  and fifth  object  offenses, interstate

            transportation of  a firearm  by a convicted  felon (Lanoue),

            and interstate possession of a stolen firearm (Meade's), were

            not  charged  as  substantive  offenses against  any  of  the

            defendants.  The sixth, interstate transportation of Lanoue's

            firearm with an  obliterated serial number, was  charged as a

            substantive offense in Count VI against Lanoue alone, and the

            jury found him  guilty of it, but there was  no evidence that

            any   co-conspirator   knew  that   the  serial   number  was

            obliterated.8    Given the  dearth  of  evidence that  Lanoue

            conspired  with  anyone  else  who  possessed  the  requisite

            knowledge and intent to  commit these offenses, and the  fact

            that the  jury  rejected  each  of  them as  a  basis  for  a

                                
            ____________________

            7.  Because the jury expressly acquitted Lanoue  of violating
            18 U.S.C.   924(c)(1),  and necessarily rejected that offense
            as an object of  the Count I conspiracy, the  Supreme Court's
            recent definition of the  "use" element of a violation  of 18
            U.S.C.   924(c)(1), Bailey v. United States, 64 U.S.L.W. 4039
                                _______________________
            (U.S. Dec. 6, 1995), is not implicated.

            8.  Indeed,  the government  does  not argue  on appeal  that
            there  was sufficient  evidence  to support  a conspiracy  to
            possess Meade's  stolen firearm  or Lanoue's firearm  with an
            obliterated serial number. 

                                         -40-
                                          40















            conspiracy conviction  against Cole and Meade,  we think that

            the  likelihood is  remote that  the  jury found  that Lanoue

            conspired with anyone else to commit them.

                      The  object offenses best supported by the evidence

            were the  two relating to the  stolen car.  From  what we can

            glean of the jury's reasoning in this case, it is likely they

            either  rejected  the  other  object  offenses,  or  found  a

            conspiracy to transport a  stolen car and did not  attempt to

            reach agreement  on the  other object  offenses.   We  cannot

            conclude that  the erroneous  use of Lanoue's  statements did

            not   substantially  sway  the   jury's  conspiracy  verdict,

            Kotteakos, 328 U.S.  at 765, and therefore  vacate and remand
            _________

            Count I for a new trial.

                      B.   Title III
                      B.   Title III

                      Lanoue objected to use of the conversation at trial

            and seeks reversal on appeal on the additional ground that it

            was  intercepted  in  violation  of  Title  III.   Title  III

            prohibits, subject to certain exceptions, the interception of

            telephone conversations in the absence of a court order.  See
                                                                      ___

            18  U.S.C.     2511(1),  2516.   Neither  the contents  of an

            intercepted telephone  conversation nor any  evidence derived

            therefrom may be received  in evidence, or used to  impeach a

            witness, if  disclosure  of that  information  would  violate

            Title III.  18 U.S.C.   2515.  Title III's protections extend

            to  prisoners'  conversations over  institutional telephones.



                                         -41-
                                          41















            See,  e.g., Campiti v. Walonis, 611 F.2d 387 (1st Cir. 1979);
            ___   ____  __________________

            United  States v.  Amen, 831  F.2d 373,  378 (2d  Cir. 1987),
            _______________________

            cert. denied, 485  U.S. 1021 (1988).   Its prohibitions would
            ____  ______

            not apply in  this case if  a party to the  conversation gave

            prior consent to the interception, 18 U.S.C.   2511(2)(c), or

            if the  conversation was intercepted "by  an investigative or

            law  enforcement  officer  in  the  ordinary  course  of  his

            duties."  18 U.S.C.   2510(5)(a)(ii).  

                      After an evidentiary hearing, the trial court ruled

            that the  interception and  use of Lanoue's  conversation did

            not violate Title  III because he impliedly consented  to the

            interception.9   We  need not  decide this  issue because  we

            vacate the convictions on Counts I and V on the basis of Rule

            16.  Moreover,  because the factual record  is undeveloped in

            important  respects,  and the  parties  have  not briefed  or

            argued certain  relevant issues  on appeal, we  cannot decide

            whether the conversation  may be used  at a  new trial.   But

            because we are sufficiently concerned about whether the Wyatt

            Detention   Center   intercepted  Lanoue's   conversation  in

            compliance with Title III, we offer the following guidance to

            the judge presiding over the new trial.

                      The record reveals that the  Wyatt Detention Center

            is owned  and operated by  Cornell Cox Management,  a private


                                
            ____________________

            9.  The government  did not contend that  Carron consented to
            the interception.

                                         -42-
                                          42















            corporation.  Pursuant to an agreement with the United States

            Marshal's office, it houses federal prisoners awaiting trial.

            Neither  the record  facts nor  the parties'  briefs disclose

            what  regulations applied  to or were  followed by  the Wyatt

            Detention Center,  but  federal regulations  require  federal

            prisons  to   establish  procedures  for   monitoring  inmate

            telephone  calls  and to  notify  inmates  of the  monitoring

            policy.   28 C.F.R.   540.102 (1995).   The Federal Bureau of

            Prisons  requires  notice  to  be  posted  at  all  monitored

            telephones "advis[ing]  the user that  all conversations from

            that  telephone are subject to monitoring and that use of the

            telephone  constitutes  consent   to  this  monitoring,"  and

            requires each inmate to  sign an acknowledgement form stating

            the  same.    Federal  Bureau of  Prisons  Program  Statement

            5264.05   6 (April 25, 1994).  Consent has been held properly

            to have been implied when notice was given according to these

            standards.  See,  e.g., Amen, 831  F.2d at  379.  The  record
                        ___   ____  ____

            indicates that Lanoue did not receive notice even approaching

            these standards.  Deficient  notice will almost always defeat

            a claim of implied consent.  See Williams  v. Poulos, 11 F.3d
                                         ___ ___________________

            271,  282  (1st  Cir.  1993); Campiti,  611  F.2d  390,  393.
                                          _______

            Keeping  in mind  that  implied consent  is not  constructive

            consent but "'consent in fact,'"  consent might be implied in

            spite of  deficient notice, but only in a rare case where the

            court   can  conclude   with  assurance   "'from  surrounding



                                         -43-
                                          43















            circumstances  . . . that the [party] knowingly agreed to the
                                                  _________ ______

            surveillance.'"   Griggs-Ryan v. Smith, 904  F.2d 112, 116-17
                              ____________________

            (1st Cir.  1990) (quoting  Amen, 831  F.2d at  378) (emphasis
                                       ____

            supplied).  We emphasize that "consent should not casually be

            inferred," Griggs-Ryan,  904 F.2d  at 117, particularly  in a
                       ___________

            case of deficient notice.  The surrounding circumstances must

            convincingly show that  the party knew about and consented to

            the interception in  spite of  the lack of  formal notice  or

            deficient formal notice.

                      The trial court did not rely on the law enforcement

            exception because the government offered no evidence or legal

            authority to show  that the employees of  the Wyatt Detention

            Center who intercepted Lanoue's conversation were "officer[s]

            of the United States  or of a State or  political subdivision

            thereof . . .  empowered by law to conduct  investigations of

            or make  arrests for offenses enumerated  in [section 2516]."

            18  U.S.C.   2510(7).   If the government  can establish that

            the employees who  intercepted Lanoue's conversation  had the

            requisite  status and powers by law, they must also have been

            acting in the ordinary course of duty when they did so.

                      The conversation was intercepted  when it was heard

            by someone other than Lanoue and Carron, whether by listening

            as  the conversation  took  place or  by  tape recording  and

            listening thereafter.   See Deal  v. Spears,  980 F.2d  1153,
                                    ___ _______________

            1158 (8th Cir. 1992);  George v. Carusone, 849 F.  Supp. 159,
                                   __________________



                                         -44-
                                          44















            163  (D. Conn. 1994).  In  Campiti, we held that the ordinary
                                       _______

            course  of   duties  exception   did  not  apply   where  the

            interception was  done outside the usual  routine and without

            notice,  was  focused  on  Campiti, and  was  not  reasonably

            related to maintaining security at Walpole.  611 F.2d at 390,

            392.10   As noted previously,  the employee  who located  the

            conversation and provided it to Agent Brosnan did not testify

            at  the hearing.    If the  call  was intercepted  to  gather

            evidence  for Agent Brosnan's  investigation, rather than for

            prison security purposes,  it was  not done  in the  ordinary

            course of duty.  

                      If neither exception  applies, the conversation may

            not be offered  in evidence  or used to  impeach any  witness

            other than Lanoue.   According to the "impeachment" exception

            allowing  use  of  illegally  intercepted  communications  to

            impeach a testifying defendant  (but not a witness), Lanoue's

            statements  in the conversation  may be used  for the limited

            purpose of impeaching him on matters plainly within the scope

            of his direct examination.  Williams, 11 F.3d at 287 &amp; n.35.
                                        ________



                                
            ____________________

            10.  Again,  the record  does  not disclose  what regulations
            applied  to or were  followed by the  Wyatt Detention Center,
            but  federal regulations  state  that the  purpose of  inmate
            telephone monitoring is "to preserve the security and orderly
            management of the institution and to protect the public."  28
            C.F.R.      540.102.     "Requests  for   information  (e.g.,
            subpoenas)  on monitored  calls  are to  be  directed to  the
            Regional  Counsel."    Federal  Bureau  of  Prisons   Program
            Statement 5264.05   6 (April 25, 1994).

                                         -45-
                                          45















                      C.   Sufficiency of the Evidence
                      C.   Sufficiency of the Evidence

                      Lanoue  argues on appeal,  as he did  in his motion

            for judgment of acquittal, that the evidence adduced at trial

            was  insufficient for  the  jury  to  have convicted  him  of

            conspiracy  (Count  I)  or  interstate  transportation  of  a

            firearm with  an obliterated serial  number (Count  VI).   In

            assessing  a  claim  of  insufficiency of  the  evidence,  we

            examine  the  record  in  the  light  most favorable  to  the

            verdict,  drawing all  reasonable inferences  and credibility

            determinations  in  its  favor,  in an  effort  to  ascertain

            whether  the proof would have allowed a rational jury to find

            the defendant guilty  beyond a reasonable doubt.   See United
                                                               ___ ______

            States v. Valerio, 48 F.3d 58, 63 (1st Cir. 1995).
            _________________

                           1.   Count I - Conspiracy

                      Lanoue argues that no rational  jury could conclude

            beyond a reasonable  doubt that he conspired with anyone else

            who  possessed  the  requisite  criminal  intent,  especially

            because his  co-defendants were  acquitted.   The  government

            argues that there was sufficient evidence from which the jury

            could conclude  that  Lanoue  conspired    with  Cole.    The

            government correctly  argues that  we cannot assume  that the

            acquittal  of  Lanoue's co-defendants  reflects a  failure of

            proof rather than leniency or compromise, Bucuvalas, 909 F.2d
                                                      _________

            at 597, and Lanoue is correct that if we find the evidence of

            conspiracy insufficient against the  alleged co-conspirators,



                                         -46-
                                          46















            the  evidence against him also would be insufficient.  Id. at
                                                                   __

            596.  

                      Our  review of  the  record persuades  us that  the

            trial   court  correctly  ruled  that  there  was  sufficient

            evidence  from  which  the   jury  could  conclude  beyond  a

            reasonable doubt that Lanoue conspired with Cole to transport

            a  stolen automobile in interstate  commerce and to possess a

            stolen automobile that had crossed  a state boundary.11   The

            Oldsmobile was  reported stolen on  December 21.   Lanoue and

            Cole took it from  Massachusetts to Rhode Island  on December

            19,  and from Rhode  Island to Massachusetts  on December 23.

            The jury was  free to reject Lanoue's  and Carron's testimony

            that Lanoue purchased the  car from Laraviere after Lariviere

            represented that  the car was his  to sell.  Because  we hold

            that   the   government's  surprise   use  of   the  recorded

            conversation  erroneously  interfered  with that  credibility

            determination,   Count  I   is   required  to   be   vacated.

            Nonetheless, because the evidence was sufficient, a new trial

            is  not  precluded.   Having found  sufficient evidence  of a

            conspiracy to transport and possess a stolen car, we need not

            decide whether there was  sufficient evidence of a conspiracy


                                
            ____________________

            11.  We conclude, however, that the trial court was incorrect
            in finding, alternatively, that there was sufficient evidence
            that Lanoue  conspired with  Laraviere to transport  a stolen
            automobile in interstate commerce.  The government adduced no
            evidence  and  did  not  argue  that  Lanoue  conspired  with
            Laraviere.

                                         -47-
                                          47















            to  commit any other object  offense.  See  Griffin v. United
                                                   ___  _________________

            States, 502 U.S. 46, 56-57 (1991) (guilty verdict on multiple
            ______

            object  conspiracy  stands   in  the  face  of   a  claim  of

            insufficiency of the  evidence as  to one of  the objects  as

            long as  the evidence  sufficiently supported an  alternative

            object).

                           2.   Count VI - Interstate Transportation of a
                                Firearm with an Obliterated Serial Number

                      Lanoue was  arrested with a Colt  38 caliber Police

            Special revolver with an  obliterated serial number tucked in

            his  waistband.   He argues  there was  insufficient evidence

            that he knew  the serial number was obliterated, an essential

            element of a violation of 18 U.S.C.   922(k).  United  States
                                                           ______________

            v. De Leon  Ruiz, 47 F.3d 452, 454 (1st  Cir. 1995).  Viewing
            ________________

            the evidence in the  light most favorable to the  verdict and

            drawing  all reasonable inferences  and credibility judgments

            in its favor, we conclude  that there was sufficient evidence

            from which a  rational jury could  conclude that Lanoue  knew

            the serial number was obliterated.   Lanoue testified that he

            carried  the revolver  fairly often  to protect  himself, and

            acknowledged  that  he   had  cleaned  the  gun.    When  the

            prosecutor showed him the gun and asked him if it was the gun

            he  carried, Lanoue replied, "Is  the State Police  on top of

            the  barrel.  On top of the barrel . . . That's the one."  He

            denied  that he had  obliterated the serial  number, but when

            asked  if he  knew it  was obliterated,  Lanoue answered,  "I


                                         -48-
                                          48















            never  checked it, it's possible.   But I never -- it doesn't

            make no  difference to me whether  they wiped out or  not.  I

            don't know  anything about  them anyway  much."   Under these

            circumstances,  a  rational  jury  could  conclude  beyond  a

            reasonable  doubt  that Lanoue  knew  the  serial number  was

            obliterated.

                      D.   The Sentence
                      D.   The Sentence

                      The Presentence Investigation Report ("PSR"), based

            on the 1994 Guidelines, calculated Lanoue's  adjusted offense

            level  as 28.  The Guidelines provided an offense level of 24

            for   the  firearms  offense  if  it  was  not  committed  in

            connection with "another felony," U.S.S.G.   2k2.1(a)(2), but

            the  PSR added  4 levels pursuant  to U.S.S.G.    2k2.1(b)(5)

            based   on   "information   submitted   by   the   government

            indicat[ing] that  the defendant was  about to engage  in the

            robbery of a Meehan armored car."   With an offense level  of

            28  and a criminal  history category of  VI, the imprisonment

            range  was 140  to 175  months.   The  PSR grouped  the three

            counts  together  pursuant  to    3D1.2(b)  and  applied  the

            firearms  offense level  of 28  as the  highest level  of the

            counts in the group.12  See U.S.S.G.   3D1.3(a).  
                                    ___



                                
            ____________________

            12.  The  offense  level for  the  stolen  car count  was  6,
            consisting of a base offense level of 4 and an enhancement of
            2 for the  value of the  Oldsmobile.  See  U.S.S.G.    2B1.1.
                                                  ___
            The  offense level for the  conspiracy count was  that of the
            substantive offenses.  See   2X1.1.
                                   ___

                                         -49-
                                          49















                      Lanoue objected to the 4-level enhancement, arguing

            that he  should not be sentenced on the basis of the robbery-

            related  crimes of which the jury had acquitted him, and that

            the government had not proved those crimes by a preponderance

            of the evidence.   The court imposed  the 4-level enhancement

            on the basis  that Lanoue  used or possessed  the firearm  in

            connection with the  crimes of which  the jury had  acquitted

            him -- conspiracy and attempt to commit robbery, and using or

            carrying a firearm in connection with a conspiracy or attempt

            to commit robbery.13   The court found that those  crimes had

            been  proved by at least a preponderance of the evidence, and

            expressed its direct disagreement with the jury's verdicts of

            acquittal.14

                      The court  sentenced Lanoue  to 175 months,  at the

            maximum end of the  range.  Pursuant to U.S.S.G.    5G1.2(d),



                                
            ____________________

            13.  The   government   had    alternatively   argued    that
            transportation of the stolen  car could constitute the "other
            felony."   The  court  found that  the  "in connection  with"
            requirement was  not satisfied  with respect to  that offense
            because firearms are not inherently associated with that type
            of  offense  and  the firearm  was  not  used  to effect  its
            commission.  

            14.  In addition to describing the  facts upon which it based
            its finding, the court stated:

                      I  am at  a  loss to  explain the  Jury's
                      verdict on those three counts.  It seemed
                      to me the evidence was overwhelming.  The
                      Jury  saw it  differently  . .  . I  just
                      don't know what the Jury concluded or why
                      it reached the conclusion that it did.  

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            because the  statutory maximums  were all below  the range,15

            the  court imposed  60 months  imprisonment  on Count  I, 115

            months  consecutive imprisonment  on Count  V, and  60 months

            concurrent imprisonment  on Count VI.   Lanoue's sentence was

            enhanced by  50 months  based on the  crimes of which  he had

            been acquitted, amounting to a 40% increase in his sentence.

                      Lanoue argues  on appeal  that we should  take this

            opportunity  to reconsider  our holding  in United  States v.
                                                        _________________

            Mocciola, 891 F.2d 13  (1st Cir. 1989), permitting sentencing
            ________

            on the basis  of acquitted conduct,  because it violates  the

            right to a jury  trial and engenders disrespect for  the law,

            and  alternatively  that the  trial  court  clearly erred  in

            finding that he had committed the robbery-related crimes by a

            preponderance of  the evidence.   Lanoue's arguments  are now

            moot  because only  the  conviction for  transportation of  a

            firearm  with an  obliterated  serial number  stands, with  a

            statutory maximum  of five  years, well below  the Guidelines

            range  of  100 to  125 months  he  would receive  without the

            enhancement.

                      Although it  makes no  difference in this  case, we

            believe that a defendant's Fifth and Sixth Amendment right to

            have  a jury determine his guilt beyond a reasonable doubt is

                                
            ____________________

            15.  The  conspiracy  statute  carries  a  five-year maximum;
            interstate transportation of a stolen motor vehicle carries a
            ten-year maximum; and interstate  transportation of a firearm
            with  an  obliterated  serial  number  carries  a   five-year
            maximum.

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                                          51















            trampled  when he is imprisoned  (for any length  of time) on

            the  basis  of  conduct  of  which  a  jury  has  necessarily

            acquitted  him.   Moreover, we  believe that  the Guidelines'

            apparent  requirement  that  courts  sentence  for  acquitted

            conduct utterly lacks the appearance  of justice.  This panel

            urges  the court to reconsider en banc the issue of acquitted

            conduct when it is next squarely presented.

            III.      Conclusion
            III.      Conclusion

                      For the foregoing reasons, the judgments  on Counts

            I  and V are vacated and those  counts are remanded for a new

            trial.   The  conviction on  Count VI  is affirmed.   Because

            Count  VI is  the  only remaining  conviction, the  statutory

            maximum of 60 months for violation of 18 U.S.C.   922(k) sets

            the upper limit of the  sentence.  Because Lanoue's Guideline

            sentence  would be greater than 60 months with or without the

            4-level  enhancement, we order the sentence on Count VI to be

            60 months imprisonment.   



















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